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14                                                The Appeal, Inc., and Ethan Corey
15
                            UNITED STATES DISTRICT COURT
16
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
18                                  EASTERN DIVISION
19
   THE APPEAL, INC. and ETHAN                     No. 5:22-cv-02111-JFW (AFMx)
20 COREY,
               Plaintiffs,                        JOINT BRIEF ON SUMMARY
21
                                                  JUDGMENT MOTION
22                 v.
23                                                Motion Hearing: July 12, 2024
   UNITED STATES DEPARTMENT OF                    Time: 11:00 a.m.
24 JUSTICE’S OFFICE OF JUSTICE                    Courtroom: 9B
25 PROGRAMS,                                      First Street Courthouse
               Defendant.                         350 W. First Street
26                                                Los Angeles, CA 90012
27
                                                  Hon. Wesley L. Hsu
28                                                United States District Judge
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1                              DEFENDANT’S INTRODUCTION
2
           This case concerns three Freedom of Information Act requests for death-in-custody
3
     information submitted by local, state, and federal authorities to the Department of Justice’s
4
5    Office of Justice Programs (“OJP”) through its components the Bureau of Justice Statistics
6
     (“BJS”) and the Bureau of Justice Assistance (“BJA”). OJP withheld the requested
7
8    material in full because it is subject to a statutory confidentiality provision prohibiting

9    disclosure, and thus to FOIA’s Exemption 3. OJP has also processed the records for partial
10
     withholdings pursuant to Exemptions 6 and 7(C) to prevent unwarranted invasion of
11
12   personal privacy. OJP now moves for summary judgment affirming its withholding in full

13   pursuant to Exemption 3, or, should the Court determine that Exemption 3 does not apply,
14
     affirming its partial withholdings pursuant to Exemptions 6 and 7(C).
15
16                              PLAINTIFFS’ INTRODUCTION

17         After George Floyd was killed, the public demanded changes in policing. To better
18
     assess the problem, the Senate called for “full implementation” of the Death in Custody
19
20   Reporting Act (“DCRA”), which requires state and federal law enforcement agencies to

21   report certain information when a person dies in custody, providing some transparency
22
     into an area that generally lacks effective oversight.
23
24         This prodding did not work. The Attorney General, tasked with implementing the

25   Act, has failed to maintain this “reliable metric” of in-custody deaths. Deaths have been
26
     severely underreported, and the AG has done nothing to compel compliance. Yet law
27
28   enforcement funding has increased, as have the deaths in custody.
                                                   1
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1          Plaintiffs Ethan Corey and The Appeal1 made three separate FOIA requests for
2
     DCRA records, attempting to capture the completeness of this would-be national database.
3
     Perhaps to hide its failings, DOJ withheld the records in their entirety pursuant to
4
5    Exemption 3 and further redacted data pursuant to Exemptions 6 and 7(C). Plaintiffs now
6
     move for summary judgment—and oppose DOJ’s motion—as the records are not properly
7
8    withheld. Exemption 3 does not apply because the records are not subject to Sec. 10231

9    of the Crime Control Act, BJS’s authorizing statute. Exemptions 6 and 7(C) do not apply
10
     as the records are not “law enforcement records” and do not present a “clearly unwarranted
11
12   invasion of privacy.”

13                           DEFENDANT’S STATEMENT OF FACTS
14
     A.    THE CRIME CONTROL ACT OF 1968
15
16         Congress enacted the Omnibus Crime Control and Safe Streets Act of 1968 “to

17   assist State and local” law enforcement by means including authorizing federal grants, and
18
     encouraging research into crime and the criminal justice system. Pub. L. No. 90-351, Title
19
20   I, 82 Stat. 198 (June 19, 1968).

21         Congress created what is now OJP to administer the various programs created under
22
     Title I of the Act. Pub. L. No. 90-351, Title I, § 101, 82 Stat. 198. Through its component
23
24   BJA, OJP is responsible for administering the Edward Byrne Memorial Justice Assistance

25   Grant (“Byrne JAG”) program, which is the leading source of federal justice funding to
26
27
           1
             The Appeal “produce[s] fact-based reporting and analysis that…educates the
28
     public on how the criminal legal system works.” See https://theappeal.org/about-us/
                                               2
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1    state and local jurisdictions.2 As part of Title I, Congress also created BJS and authorized
2
     it to “collect and analyze statistical information, concerning the operations of the criminal
3
     justice system at the Federal, State, tribal, and local levels” as well as to “confer and
4
5    cooperate with State, municipal, and other local agencies.” 34 U.S.C. § 10132(c)(4),
6
     (d)(1)(B).
7
8          Congress included a provision dealing with “confidentiality of information” under

9    Title I, which, as subsequently amended, now reads:
10
           No officer or employee of the Federal Government, and no recipient of assistance
11         under the provisions of this title shall use or reveal any research or statistical
12         information furnished under this title by any person and identifiable to any
           specific private person for any purpose other than the purpose for which it was
13         obtained in accordance with this title. Such information and copies thereof shall
14         be immune from legal process, and shall not, without the consent of the person
           furnishing such information, be admitted as evidence or used for any purpose in
15         any action, suit, or other judicial, legislative, or administrative proceedings.
16   34 U.S.C. § 10231(a).3
17
18
19
20
     2
21     See https://bja.ojp.gov/program/jag/overview (last visited April 29, 2024).
     3
       The current codification of Title I’s confidentiality provision, at 34 U.S.C. § 10231(a),
22   says “furnished under this chapter,” rather than “furnished under this title,” as in the
23   Statutes at Large. See Pub. L. No. 90-351, Title I, § 812(a), formerly § 818, as added Pub.
     L. No. 96-157, § 2, 93 Stat. 1213 (Dec. 27, 1979), redesignated as § 812 by Pub. L. No.
24
     98-473, Title II, § 609(f), 98 Stat. 2093 (Oct. 12, 1984), amended by Pub. L. No. 109-162,
25   Title XI, § 1115(c), 119 Stat. 3104 (Jan. 5, 2006). Because Congress enacted the language
     in the statute at large, including the phrase “furnished under this title,” but has not enacted
26
     Title 34 of the U.S. Code as positive law, the language of the statutes at large prevails
27   when the two are inconsistent. See Stephan v. United States, 319 U.S. 423, 426 (1943); 1
     U.S.C. §§ 112, 204(a).
28
                                                   3
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1    B.    THE DCRA AND THE MCI PROGRAM
2
           The Death in Custody Reporting Act of 2000 (“DCRA 2000”), Pub. L. No. 106-
3
     297, 114 Stat. 1045 (Oct. 13, 2000), required states to report “information regarding the
4
5    death of any person who is in the process of arrest, is en route to be incarcerated, or is
6
     incarcerated” in any state or local correctional facility. 42 U.S.C. § 13704(a)(2) (2000)
7
8    (current version at 34 U.S.C. § 12104). DCRA 2000 did not apply to federal agencies, and

9    it did not require local authorities to report directly to DOJ. Id. BJS launched the Mortality
10
     in Correctional Institutions (“MCI”) program following the enactment of DCRA 2000.
11
12   See Report of the Attorney General Pursuant to Section 6(e) of Executive Order No.

13   14074: Department of Justice Implementation of the Death in Custody Reporting Act of
14
     2013, at 2 (“AG Report”).4 MCI collected data on deaths in custody consistent with DCRA
15
16   2000 but also more broadly. MCI collected data directly from each of the nation’s 50 state

17   prison systems and approximately 2,800 local jail jurisdictions, whereas DCRA 2000 only
18
     required reporting by states. BJS, MCI Program (Formerly Deaths in Custody Reporting
19
20   Program (DCRP)).5

21         DCRA 2000 “expired in 2006.” AG Report at 3. BJS nevertheless determined to
22
     keep MCI in operation as “one of its standard annual data collections on correctional
23
24
     4
25     Available at https://bja.ojp.gov/doc/DOJ-Implementation-of-DCRA-of-2013.pdf (last
     accessed April 29, 2024).
26
     5
27     Available at https://bjs.ojp.gov/data-collection/mortality-correctional-institutions-mci-
     formerly-deaths-custody-reporting-program (last accessed April 29, 2024).
28
                                                   4
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1    institutions.” Id. at 2. Although DCRA 2000’s expiration meant that there was no statutory
2
     mandate requiring the submission of death-in-custody information, the organic statute
3
     governing BJS allows it to collect information about all aspects of the criminal justice
4
5    system on a voluntary basis. See 34 U.S.C. § 10132(c)(4).
6
           Congress reenacted DCRA, with certain modifications, in 2014. Death in Custody
7
8    Reporting Act of 2013, Pub. L. No. 113-285, 128 Stat. 2860 (Dec. 18, 2014) (“DCRA

9    2013”). One crucial difference between DCRA 2000 and DCRA 2013 was the creation of
10
     a penalty for failure to report, in the form of a potential loss of Byrne JAG funds under
11
12   Title I. See 34 U.S.C. § 60105(c)(2). As a result of that change, DOJ determined that BJS

13   was not the appropriate component to collect state information under DCRA 2013,
14
     because the new enforcement mechanism was “incompatible with BJS’s authorizing
15
16   statute as a federal statistical agency.” AG Report at 4. DOJ thus established a new DCRA

17   data collection under BJA, the DOJ component responsible for Justice Assistance Grants,
18
     rather than BJS. See id. at 5. BJA began collecting data on reportable deaths on October
19
20   1, 2019. Id. BJA collects DCRA data only from the state agencies responsible for

21   administering federal criminal-justice grants, whereas BJS collected MCI data directly
22
     from both state corrections departments and local jails. See id. at 8.
23
24         DCRA 2013 also included a requirement for federal law enforcement agencies to

25   submit death-in-custody information “in such form and manner specified by the Attorney
26
     General,” to include, “at a minimum,” the information that DCRA 2013 requires states to
27
28   submit. 18 U.S.C. § 4001 note. The Attorney General issued a memorandum to federal
                                                  5
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1    law enforcement agencies on October 5, 2016, instructing them to submit the required
2
     information to BJS, and noting that BJS would provide “[f]urther guidance on the
3
     reporting procedures and what information agencies are required to report.”6 BJS created
4
5    the Federal Law Enforcement Deaths in Custody Reporting Program (“FDCRP”) to collect
6
     the required data.7
7
8    C.    PLAINTIFF’S FREEDOM OF INFORMATION ACT REQUESTS

9          This case concerns three of Plaintiff’s FOIA requests. The first seeks “data on jail
10
     deaths reported by local jail[]” facilities “participating in the [MCI] reporting program”
11
12   from 2000 to 2018. JAF 1, 2. The second, submitted July 27, 2020, seeks three categories

13   of data submitted starting October 1, 2019: “All DCR-1 quarterly summary forms
14
     submitted by federal, state, and local agencies” to OJP or its components; “[a]ll DCR-1A
15
16   incident reports submitted by federal, state, and local agencies to OJP” or its components;

17   and “[a]ll Edward Byrne Memorial Justice Assistance Grant (“JAG”) Performance
18
     Management Tool reports submitted by state and local agencies using the online portal
19
20   located at http://bjapmt.ojp.gov/ that include reporting pursuant to [DCRA 2013].” JAF 8.

21   The third, submitted February 5, 2021, seeks “[a]ll [DCRA 2013] reports submitted by
22
23
24
     6
25     The Attorney General’s October 2016 Memorandum on DCRA, available as Appendix
     3 to U.S. DOJ Office of the Inspector General, Review of the Department of Justice’s
26
     Implementation of the Death in Custody Reporting Act of 2013,
27   https://oig.justice.gov/reports/2018/e1901.pdf (last accessed April 29, 2024).
     7
         BJS, FDCRP, https://bjs.ojp.gov/data-collection/federal-law-enforcement-agency-
28
     deaths-custody-reporting-program-fdcrp (last accessed April 29, 2024).
                                                 6
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1    federal law enforcement agencies (including the Bureau of Prisons) from FY2016 to
2
     FY2020.” JAF 13.
3
           OJP’s searches located 182,611 pages of records potentially responsive to the first
4
5    request, see JAF 22; 25,115 records potentially responsive to the second request, see JAF
6
     30; and 2,179 records (consisting of 4,358 pages) potentially responsive to the third
7
8    request, see JAF 35-36. In each case, OJP determined that the records contain research or

9    statistical information identifiable to specific private persons, and were thus exempt from
10
     disclosure under the confidentiality provision of the Crime Control Act, codified at 34
11
12   U.S.C. § 10231. JAF 4-7, 12, 15. Plaintiff subsequently filed suit challenging the

13   withholding of responsive records. See Compl., ECF 1. Pursuant to the schedule agreed
14
     by the parties, see ECF 37 at 5, OJP processed the responsive documents for all applicable
15
16   FOIA exemptions (not just Exemption 3), and produced the redacted records to Plaintiff

17   on January 31, 2024. JAF 7, 12, 15. Because Exemption 3 applies to all responsive records,
18
     the documents produced to Plaintiff were redacted in full. OJP has also processed the
19
20   documents for withholding under Exemption 6 and 7(C), and moves for summary

21   judgment on those exemptions in the event that the Court determines that Exemption 3
22
     does not apply.
23
24   D.    THE “K-ANONYMITY” REDACTION METHOD

25         BJS employed a method known as “k-anonymity” to partially redact the records
26
     produced to Plaintiff pursuant to Exemptions 6 and 7(C), see JAF 39, each of which
27
28   protects against “unwarranted invasion[s] of personal privacy.” 5 U.S.C. § 552(b)(6),
                                                 7
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1    (7)(C).
2
           “K-anonymity” is one of several “statistical disclosure avoidance methods” that can
3
     be used to “meet confidentiality standards” for “statistical datasets.” JAF 40. The method
4
5    was first developed in academic literature over twenty years ago, and is one of the “de-
6
     identification methods” discussed in the National Institute of Standards and Technology’s
7
8    “De-Identification of Personal Information” reference guide. JAF 41; see also S.

9    Garfinkel, De-Identification of Personal Information, Nat’l Inst. of Stds. & Tech. (2015).8
10
     “K-anonymity” is a “suppression” method of data de-identification, meaning that it works
11
12   by suppressing (i.e., redacting) certain cells in a database, as distinct from methods such

13   as “swapping” or “perturbation” that work by “alter[ing] the record in some way.” JAF
14
     42. BJS selected the k-anonymity method as “an efficient and objective optimization
15
16   method that minimizes the number of redacted cells while protecting against the

17   unwarranted invasion of privacy.” JAF 43.
18
           K-anonymity protects the privacy of “person-specific, field structured data” by
19
20   ensuring that “the information for each person contained in the release cannot be

21   distinguished from at least k-1 individuals whose information also appears in the release.”
22
     L. Sweeney, k-anonymity: a model for protecting privacy. Int’l J. on Uncertainty,
23
24   Fuzziness and Knowledge-based Systems, 10(5); 557-570 (2002).9 The data-holder can

25
     8
      Available at https://nvlpubs.nist.gov/nistpubs/ir/2015/NIST.IR.8053.pdf (last accessed
26
     March 15, 2024).
27
     9
                 Available          at            https://epic.org/wp-content/uploads/privacy/
28
     reidentification/Sweeney_Article.pdf (last accessed April 29, 2024).
                                                 8
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1    select the value of “k” depending on the degree of protection desired; higher values of “k”
2
     mean each individual record is indistinguishable from a larger number of additional
3
     records, but at the price of redacting more information. Here, BJS selected a “k” value of
4
5    2 (the lowest possible value), meaning that the relevant variables for any given individual
6
     record are identical to at least one other record. JAF 56.
7
8          A real-life example from work by Latanya Sweeney, the creator of k-anonymity,

9    illustrates the intuition behind the method. During the 1990s, the Massachusetts state
10
     government made available a research dataset containing insurance records of state
11
12   employees who had been hospitalized. Garfinkel, at 18. To protect the employees’ privacy,

13   their names were redacted from the dataset, but their date of birth, ZIP code, and sex were
14
     all included to allow for statistical analysis. Id. Sweeney knew that then-Governor William
15
16   Weld had recently been treated at a Massachusetts hospital, and could confirm his date of

17   birth, sex, and ZIP code from voter registration records. Id. Because only one record in the
18
     dataset had the right combination of age, sex, and ZIP code, and because Sweeney knew
19
20   Weld was included in the dataset, she was able to conclusively link Weld to the supposedly

21   “de-identified” insurance records, which included highly sensitive information such as
22
     diagnoses, medications, and procedures. Id. That linkage would not have been possible if
23
24   the dataset were sufficiently redacted to ensure that at least one other record would be

25   indistinguishable from Weld’s along the relevant variables of age, sex, and ZIP code. K-
26
     anonymity works by redacting datasets in just that way.
27
28         BJS applied the k-anonymity algorithm here as follows. First, it redacted all “direct
                                                  9
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1    identifiers” in the dataset—such as the cells containing each inmate’s full name and full
2
     date of birth. JAF 47-50. BJS then identified the variables that it considered to be “quasi-
3
     identifiers,” meaning variables in a dataset that could be used to identify an individual
4
5    when combined with other information, either on the MCI/DCRA datasets or any other
6
     available data sources (equivalent to age, sex, and ZIP code in the Weld example above).
7
8    JAF 51-55. The goal of k-anonymity is to ensure that no record contains a unique

9    combination of quasi-identifiers.
10
           BJS opted for algorithm settings relating to the treatment of blank cells that
11
12   minimized the overall number of redactions, and likewise instructed the algorithm to treat

13   all cells as equally important, which minimized the number of cell suppressions. JAF 57-
14
     58. In addition, before running the algorithm, BJS first redacted any quasi-identifier value
15
16   that was unique within its column, in order to limit the effect of rare values on the overall

17   redaction results. JAF 59. Next, BJS redacted all the columns directly related to any quasi-
18
     identifier that was redacted by the algorithm, which was necessary to preserve the value
19
20   of the redaction. JAF 60. For example, if the “state” variable were redacted but the “facility

21   name” of “San Quentin State Prison” were to remain unredacted, the identity of the state
22
     would still be obvious.
23
24         Finally, BJS randomized the order of the rows. JAF 61. Because the underlying

25   Excel file was sorted by column values (e.g., in the “year” column, all the “2018”s
26
     followed by all the “2019”s), there would be little value in redacting a single “year” cell
27
28   when the redacted value would be obvious from its surroundings.
                                                  10
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1          Given the nature of the k-anonymity method, OJP’s justifications for nondisclosure
2
     turn on the relationships between the quasi-identifier cells rather than on the particular
3
     contents of any specific cell. As result, OJP relies on the Declaration of Amy Lauger to
4
5    provide Plaintiff with “sufficient information to present a full legal argument,” rather than
6
     submitting a Vaughn index. Minier v. CIA, 88 F.3d 796, 804. (9th Cir. 1996).10
7
8                           PLAINTIFFS’ STATEMENT OF FACTS

9          A. The Death in Custody Reporting Acts
10
           The Death in Custody Reporting Act was enacted in 2000 (“DCRA 2000”) (current
11
12   version at 34 U.S.C. § 12104). JAF 65. It required states to report to the Attorney General

13   information regarding the death of any person held in custody by state and local law
14
     enforcement, including biographical information and the circumstances surrounding the
15
16   death. JAF 66. From the start, Congress expected this data to be disclosed to the public.

17   JAF 67, 81.
18
           To implement DCRA, DOJ tasked the Bureau of Justice Statistics (“BJS”) to create
19
20   the Death in Custody Reporting Program, which included two programs: Mortality in

21   Correctional Institutions (“MCI”) and the Arrest Related Deaths. JAF 69, 71. Data
22
23
     10
       OJP produced certain MCI records, subject to the same k-anonymity redaction method
24
     for Exemptions 6 and 7(c) in the related Gannett litigation in D.C. Although those records
25   are not responsive to Plaintiff’s requests here because they consist of state, not local data,
     the production in that case is available on OJP’s FOIA reading room and illustrates how
26
     BJS applied k-anonymity. See https://www.ojp.gov/program/ojp-freedom-information-
27   act/ojp-reading-room (last accessed April 29, 2024). The parties in the Gannett case are
     currently litigating the application of the k-anonymity method.
28
                                                  11
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1    collected by BJS is restricted to “statistical or research purposes” and cannot be used for
2
     law enforcement, such as evidence in legal proceedings, 34 U.S.C. § 10134, and some data
3
     is subject to a confidentiality provision. Id. at § 10231. DCRA 2000 expired in 2006. JAF
4
5    76.
6
           In 2014, Congress reauthorized “DCRA 2013.” 34 U.S.C. § 60105. It required states
7
8    receiving Edward Byrne Memorial Justice Assistance Grants (“JAG”)—all fifty states and

9    six territories—to report much of the same information required under DCRA 2000, JAF
10
     82, 84-85, and mandated the AG issue a report analyzing the data. JAF 83. DCRA 2013
11
12   also required federal law enforcement agencies to report, resulting in BJS’s Federal Law

13   Enforcement Deaths in Custody Program (“FDCRP”). JAF 91-92. Finally, DCRA 2013
14
     created an enforcement mechanism, allowing the AG to reduce states’ JAG grants for
15
16   noncompliance. JAF 86. (JAG has awarded more than $5 billion. Charlton Decl., Ex.K.)

17   This resulted in moving state data collection from BJS to the Bureau of Justice Assistance
18
     (“BJA”), which administered the grants, effective in 2019. JAF 88. Audits revealed the
19
20   data collected under DCRA 2013 is incomplete. JAF 112-113.

21         As of this filing, the AG has not issued its report or elected to reduce grants to any
22
     state, despite clear issues with compliance. JAF 93-94.
23
24         B. Plaintiffs FOIA Requests and Procedural History

25         Plaintiff Corey, a researcher for The Appeal, submitted three FOIA requests seeking
26
     DCRA data. Request 1 seeks jail deaths reported by each jail facility participating in the
27
28   MCI program from 2000 to 2018, including the decedents’ year of death, state, facility,
                                                 12
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1    and cause of death. JAF 1. DOJ withheld 182,611 pages of records under Exemption 3.
2
     JAF 22, 3-4. Request 2 seeks incident reports submitted under DCRA 2013 by federal,
3
     state and local agencies. JAF 8. DOJ withheld 25,115 records under Exemption 3. JAF 30,
4
5    12. Request 3 seeks all reports submitted under DCRA 2013 by federal law enforcement
6
     agencies from 2016 to 2020, the last full year of data available at the time. JAF 13. DOJ
7
8    withheld 1,674 records under Exemption 3. JAF 35, 14. Plaintiffs timely appealed each

9    denial. JAF 5, Corey Decl. ¶¶9, 15. OJP upheld the invocations of Exemption 3. JAF 6;
10
     Corey Decl. ¶¶10, 16. Plaintiffs sued in November 2022.ECF 1. DOJ has released fully-
11
12   redacted spreadsheets under Exemption 3 and has applied redactions under Exemptions 6

13   and 7(C). JAF 7, 12, 15.
14
           DOJ used “k-anonymity” to “de-identify” the dataset. Supra, 7-11. The algorithm
15
16   works by removing “unique” data from an individual entry, such that remaining data is

17   shared by at least one other individual. In a similar production provided to USA Today, the
18
     k-anonymity method resulted in complete redaction of full names and birth dates, as well
19
20   as nearly all of the data related to manner of death. JAF 122-126. More than half of the

21   facility names and locations are redacted, as well as 17% of the death months, 31%
22
     redaction of the death days, and 23% of the states where the death occurred. JAF 126.
23
24                                    LEGAL STANDARD

25         Most FOIA cases are resolved on summary judgment. Animal Legal Def. Fund v.
26
     U.S. FDA, 836 F.3d 987, 989 (9th Cir. 2016). A court reviews an agency’s response to a
27
28   FOIA request de novo. 5 U.S.C. § 552(a)(4)(B). Summary judgment may be granted to an
                                                 13
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1    agency on the basis of information provided in affidavits or declarations that describe “the
2
     justifications for nondisclosure with reasonably specific detail, demonstrate that the
3
     information withheld logically falls within the claimed exemptions, and show that the
4
5    justifications are not controverted by contrary evidence in the record or by evidence of
6
     [agency] bad faith.” Berman v. CIA, 501 F.3d 1136, 1140 (9th Cir. 2007). In evaluating
7
8    an exemption claim, a court “must accord substantial weight to [the agency’s] affidavits.”

9    Minier, 88 F.3d at 800 (quotation omitted).
10
                             ADDITIONAL LEGAL STANDARDS
11
12          Under FOIA, agencies must disclose records unless disclosure is prohibited by law

13   or the records fall within the nine exemptions in 5 U.S.C. § 552(b). Dep’t of Interior v.
14
     Klamath Water Users Protective Ass’n, 532 U.S. 1, 7–8 (2001) (citations omitted); 5
15
16   U.S.C. § 552(a)(8)(A). These exemptions are “interpreted narrowly.” Lahr v. NTSB, 569

17   F.3d 964, 973 (9th Cir. 2009) (citations omitted). The agency “bears the burden of
18
     demonstrating that the exemption properly applies to the documents,” Lahr, 569 F.3d at
19
20   973; § 552(a)(4)(B), and must articulate “tailored reasons” for their use. Shannahan v.

21   I.R.S., 672 F.3d 1142, 1148 (9th Cir. 2012). Neither boilerplate nor conclusory statements
22
     will suffice. Id.
23
24          Agencies “must search for documents in good faith.” Charles v. Off. Of the Armed

25   Forces Med. Exam’r, 730 F. Supp. 2d 205, 212 (D.D.C. 2010). And records may only be
26
     withheld if “the agency reasonably foresees that disclosure would harm an interest
27
28   protected by an exemption.” § 552(a)(8)(A)(i)(I); Transgender L. Ctr. V. ICE, 46 F.4th
                                                   14
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1    771, 782 (9th Cir. 2022). The agency also bears the burden of demonstrating that
2
     “reasonably segregable portion[s] of a record” are disclosed. § 552(b). A district court
3
     “must make a specific finding that no information contained in each document or
4
5    substantial portion of a document withheld is segregable.” Hamdan v. DOJ, 797 F.3d 759,
6
     779 (9th Cir. 2015) (citation omitted).
7
8                                              ANALYSIS

9     I.   Search Adequacy (Defendant’s Position)
10
           An agency can “demonstrate that it has conducted a search reasonably calculated to
11
12   uncover all relevant documents . . . by reasonably detailed, nonconclusory affidavits

13   submitted in good faith.” Lahr v. NTSB, 569 F.3d 964, 986 (9th Cir. 2009). Here,
14
     Plaintiff’s FOIA requests specified the particular data collections (and in the second
15
16   request, the particular forms) of interest, and searches in response to all three requests

17   were conducted by agency staff personally responsible for the relevant data collections.
18
     JAF 17, 26, 32. Agency staff searched all databases containing the respective data
19
20   collections, and determined that no other locations were reasonably likely to contain

21   responsive records. JAF 20, 29, 34. Defendant’s searches were thus reasonably calculated
22
     to uncover all relevant documents.
23
24   II.   Exemption 3 (Defendant’s Position)

25         Exemption 3 permits an agency to withhold information that is “specifically
26
     exempted from disclosure by statute,” if that statute “(i) requires that the matter be
27
28   withheld from the public in such a manner as to leave no discretion on the issue; or (ii)
                                                  15
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1    establishes particular criteria for withholding or refers to particular types of matters to be
2
     withheld.” 5 U.S.C. § 552(b)(3). Exemption 3 entails a two-step inquiry. “First, a court
3
     must determine whether there is a statute within the scope of Exemption 3.” Minier, 88
4
5    F.3d at 801. Second, “it must determine whether the requested information falls within the
6
     scope of the statute.” Id.
7
8          At the first step, Title I’s confidentiality provision “undoubtedly is” within the scope

9    of Exemption 3. Gannett Satellite Info. Network, LLC v. DOJ, No. 22-cv-475 (BAH), 2023
10
     WL 2682121, at *5 (Mar. 29, 2023). “No discretion is provided . . . on whether or not to
11
12   disclose the information referred to,” and the statute specifically identifies the “raw data

13   reported by or on behalf of individuals” as the type of data “to be held confidential and
14
     not available for disclosure.” Baldridge v. Shapiro, 455 U.S. 345, 355 (1982) (holding that
15
16   a similarly worded provision in the Census Act satisfies Exemption 3).

17         Second, the information requested falls within the scope of the confidentiality
18
     provision. All three requests plainly seek “research or statistical information,” and that
19
20   information is “identifiable to specific private persons” because it particularly identifies

21   individual decedents. 34 U.S.C. § 10231(a); cf. Church of Scientology of Ca. v. IRS, 484
22
     U.S. 9, 17 (1987) (“removal of identification from [tax] return information would not
23
24   deprive it of protection under” the applicable Exemption 3 withholding statute). The

25   “dispositive question” is thus whether the information requested was “furnished under”
26
     Title I of the Crime Control Act. Gannett, 2023 WL 2682121, at *5.
27
28
                                                  16
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1             The term “furnished under” is not defined in the statute, so the words are given their
2
     “ordinary, contemporary, common meaning.” Food Mktg. Inst. v. Argus Leader Media,
3
     588 U.S. 427, 433-34 (2019). “Furnished” means “provided or supplied.” Trope v. United
4
5    States, 276 F. 348, 350-51 (8th Cir. 1921); accord Gannett, 2023 WL 2682121, at *6. And
6
     the word “under,” in the context of “under this title,” means “in accordance with” or “in
7
8    compliance with.” Kirtsaeng v. John Wiley & Sons, Inc., 568 U.S. 519, 530 (2013)

9    (quoting 18 Oxford English Dictionary 950 (2d ed. 1989)).
10
              Plaintiff’s first request seeks data “furnished under” Title I because the data were
11
12   exclusively collected on a voluntary basis pursuant to BJS’s Title I statutory authority and

13   there is no other possible statute under which the data could have been furnished. Title I
14
     authorizes BJS to collect data on all aspects of the criminal justice system on a voluntary
15
16   basis, and to cooperate with state and local agencies in doing so. See generally 34 U.S.C.

17   § 10132. BJS needs no additional authority to engage in voluntary data collection. For
18
     example, BJS maintains over 30 corrections-related data collections, and all data for those
19
20   collections are submitted on a voluntary basis. See BJS, Corrections, Why Does Data Take

21   So Long to Collect and Publish.11
22
              Although Plaintiff’s first request seeks data submitted to the MCI program, no
23
24   responsive records were furnished under either version of the DCRA statute. The first

25   request specifically seeks data “reported by local jails” that are “participating in the [MCI]
26
27
28   11
          Available at https://bjs.ojp.gov/topics/corrections (last accessed April 29, 2024).
                                                     17
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1    reporting program,” JAF 1, 2, and neither DCRA 2000 nor DCRA 2013 ever imposed any
2
     obligation on local jails to submit information to DOJ.
3
           DCRA 2000 imposed a requirement on states to report information on deaths in
4
5    custody, including deaths in “municipal or county jail[s]” and “local or State correctional
6
     facilit[ies],” but it did not impose any requirement on municipalities, counties, or localities
7
8    to report information to DOJ. 42 U.S.C. § 13704(a)(2) (2000) (current version at 34 U.S.C.

9    § 12104). Likewise, DCRA 2013 provides that “the State shall report to the Attorney
10
     General . . . information regarding the death of any person” in custody. 34 U.S.C.
11
12   § 60105(a). It also specifies that the term “State” has the meaning given in Section 901(a)

13   of Title I of the Crime Control Act, now codified at 34 U.S.C. § 10251(a). Id. § 60105(e).
14
     That provision, in turn, defines “State” to mean “any State of the United States, the District
15
16   of Columbia, the Commonwealth of Puerto Rico, the Virgin Islands, American Samoa,

17   Guam, and the Northern Mariana Islands,” id. § 10251(a)(2), and the immediately
18
     following provision separately defines a “unit of local government,” id. § 10251(a)(3).
19
20   When “[t]he text of the statute reveals that Congress distinguished between” two terms,

21   “elementary principles of statutory construction” require courts to give those terms distinct
22
     meanings. Hernandez v. Ashcroft, 345 F.3d 824, 838 (9th Cir. 2003). Information
23
24   responsive to the first request was thus furnished under Title I, and only under Title I.

25         Plaintiff’s second and third requests each seek information that was required to be
26
     submitted by DCRA 2013, and Defendant does not dispute that such information was
27
28   “furnished under” DCRA. But the information Plaintiff seeks was also “furnished under”
                                                   18
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1    Title I, and is thus subject to the confidentiality provision. That provision protects
2
     information “furnished under,” i.e., supplied or provided in accordance with or in
3
     compliance with, Title I, regardless of whether it may also have been “furnished under”
4
5    another statute as well.
6
           The term “furnished under” does not naturally or necessarily imply exclusivity,
7
8    which is why Congress and agency regulations have expressly specified when that is the

9    intended meaning. See, e.g., 38 U.S.C. § 3104(d) (prohibiting certain assistance to
10
     veterans “under this chapter” and specifying that “such assistance may be furnished only
11
12   under” another section); 42 C.F.R. § 422.632(d)(1) (prohibiting cost recovery for certain

13   Medicare services “to the extent that the services were furnished solely under the
14
     requirements of this section.”). Likewise, the Ninth Circuit has recognized, for example,
15
16   that proceedings to determine the validity of certain mining claims “under the General

17   Mining Law of 1872” qualify as proceedings “under § 554” of the Administrative
18
     Procedure Act for purposes of awarding attorney’s fees “under the [Equal Access to
19
20   Justice Act],” even though the Mining Law “does not specifically state that § 554 applies

21   to such proceedings.” Collord v. U.S. Dep’t of Interior, 154 F.3d 933, 935-36 (9th Cir.
22
     1998). The same proceeding can be “under” the Mining Law, the APA, and the EAJA,
23
24   because the phrase “under” is not the equivalent of “exclusively under.” Similarly here,

25   information may be (and was) “furnished under” both DCRA 2013 and Title I.
26
           Plaintiff’s second request seeks information submitted on two forms issued by BJA
27
28   as part of its DCRA data collection, plus information submitted “pursuant to” DCRA 2013
                                                19
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1    on a specified BJA website. JAF 8. States are required to furnish information to BJA, a
2
     Title I entity, only by virtue of their voluntary participation in the Byrne JAG program, a
3
     Title I program, subject to enforcement via the potential loss of funds under that program.
4
5    34 U.S.C. § 60105(a), (c)(2). A state that does not participate in the Byrne JAG program
6
     has no obligation whatsoever to furnish any information under DCRA.
7
8          Plaintiff’s third request seeks DCRA 2013 reports submitted by federal law

9    enforcement agencies. JAF 13. DCRA 2013 requires all federal law enforcement agencies,
10
     starting in fiscal year 2016, to report death-in-custody data “in such form and manner
11
12   specified by the Attorney General,” to include, “at a minimum,” the information that

13   DCRA 2013 requires states to submit. 18 U.S.C. § 4001 note. Pursuant to the Attorney
14
     General’s direction, federal DCRA information must be submitted to BJS, and federal law
15
16   enforcement authorities must comply with BJS’s guidance on reporting procedures and

17   the information they are required to submit. 12
18
           The D.C. Circuit’s decision construing a confidentiality provision in the Census Act
19
20   covering, as does the Title I provision at issue here, “information furnished under the

21   provisions of this Title” is instructive. Seymour v. Barabba, 559 F.2d 806, 807 (D.C. Cir.
22
     1977). There, the plaintiff argued that the information it sought was not “furnished under
23
24   the provisions of this Title” because the information may have been “acquired or supplied

25
26   12
        See The Attorney General’s October 2016 Memorandum on DCRA, available as
27   Appendix 3 to U.S. DOJ Office of the Inspector General, Review of the Department of
     Justice’s Implementation of the Death in Custody Reporting Act of 2013,
28
     https://oig.justice.gov/reports/2018/e1901.pdf (last accessed April 29, 2024).
                                                 20
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1    from sources other than the specific reporting establishments” under the Census Act. Id.
2
     at 809. The court rejected that argument, holding that it was sufficient for Exemption 3
3
     that the data sought were “gathered by the Census Bureau” and “categorized and
4
5    assembled for Census Bureau purposes.” Id. at 808. The same is true here: The information
6
     Plaintiff’s second and third requests seek was gathered by BJA and BJS, both Title I
7
8    entities, and categorized and assembled for those offices’ purposes as established by Title

9    I, and thus qualifies as having been “furnished under” Title I.
10
            Defendant acknowledges that the court in Gannett, the only decision specifically
11
12   construing the provision at issue here, concluded that death-in-custody data were

13   “furnished under” DCRA and were thus not protected from disclosure under Title I and
14
     Exemption 3. See Gannett, 2023 WL 2682121, at *10. Defendant’s position is that that
15
16   decision was erroneous for a number of reasons, including that it did not recognize that

17   information could be “furnished under” both DCRA and Title I.13
18
     III.   Exemptions 6 and 7(C) (Defendant’s Position)
19
20          Exemption 6 protects “personnel and medical files and similar files the disclosure

21   of which would constitute a clearly unwarranted invasion of personal privacy.” 5 U.S.C.
22
     § 552(b)(6). Exemption 6 thus “protect[s] individuals from the injury and embarrassment
23
24   that can result from the unnecessary disclosure of personal information.” Dep’t of State v.

25
     13
        Defendant has sought reconsideration in Gannett as to MCI data that were not submitted
26
     under DCRA (because DCRA was not in force, or did not apply to local jails), which the
27   opinion did not directly address. See 2023 WL 2682121, at *9 n.3. Defendant maintains
     its respectful disagreement with that court’s holding as to data that were submitted under
28
     DCRA but has not sought reconsideration of that particular holding.
                                                 21
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1    Wash. Post Co., 456 U.S. 595, 599 (1982). The phrase “similar files” has a “broad, rather
2
     than a narrow meaning,” and includes “[g]overnment records containing information that
3
     applies to particular individuals.” Forest Serv. Employees for Env. Ethics v. U.S. Forest
4
5    Service, 524 F.3d 1021, 1024 (9th Cir. 2008). The records at issue here contain data on the
6
     deaths of individual inmates, and thus satisfy Exemption 6’s threshold requirement.
7
8          Exemption 7(C) similarly protects “records or information compiled for law

9    enforcement purposes, but only to the extent that the production of such law enforcement
10
     records or information . . . could reasonably be expected to constitute an unwarranted
11
12   invasion of personal privacy.” 5 U.S.C. §552(b)(7)(C). “[I]nformation initially contained

13   in a record made for law enforcement purposes continues to meet the threshold
14
     requirements of Exemption 7” even when “that recorded information is reproduced or
15
16   summarized in a new document for a non-law-enforcement purpose.” FBI v. Abramson,

17   456 U.S. 615, 631-32 (1982). The phrase “law enforcement” in Exemption 7 is not
18
     “limited to federal law enforcement.” Shaw v. FBI, 749 F.2d 58, 64 (D.C. Cir. 1984).
19
20         Departments of corrections and other state or local agencies that operate

21   correctional facilities are law enforcement agencies. Cf. Duffin v. Carlson, 636 F.2d 709,
22
     713 (D.C. Cir. 1980) (Federal Bureau of Prisons is “a criminal law enforcement
23
24   authority.”). And information compiled pursuant to the “law enforcement mission of

25   protecting inmates, staff, and the community” qualifies for protection under Exemption
26
     7’s threshold inquiry. Pinson v. DOJ, 236 F. Supp. 3d 338, 365 (D.D.C. 2017) (applying
27
28   Exemption 7 to “administrative remedy index,” which “collects records pertaining to
                                                 22
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1    wrongful conduct within the prison that were affirmatively created by BOP to fulfill its
2
     law enforcement responsibility of protecting inmates.”).
3
           Under both exemptions, the court “must balance the privacy interest protected by
4
5    the exemptions against the public interest in government openness that would be served
6
     by disclosure.” Lahr, 569 F.3d at 973. Although the analysis is similar for both
7
8    exemptions, they “differ in the magnitude of the public interest that is required to override

9    the respective privacy interests protected by the exemptions.” DOD v. FLRA, 510 U.S.
10
     485, 496 n.6 (1994). When, as here, both exemptions apply, the government “need meet
11
12   only the lower threshold of Exemption 7(C). Lahr, 569 F.3d at 974. But “[b]ecause both

13   exemptions require balancing of public and private interests, cases arising under
14
     Exemption 6 also inform [the court’s] analysis” under Exemption 7(C). Id.
15
16         A.     Disclosure of the records Plaintiff seeks would constitute a clearly
                  unwarranted invasion of personal privacy
17
           The Supreme Court has emphasized that “the concept of personal privacy under
18
19   Exemption 7(C) is not some limited or cramped notion of that idea.” Nat’l Archives &
20   Records Admin. v. Favish, 541 U.S. 157, 165 (2004). Personal privacy, as protected by
21
     Exemptions 6 and 7(C), encompasses “the individual’s control of information concerning
22
23   his or her person” as well as an “interest in keeping personal facts away from the public
24
     eye.” DOJ v. Reporters Comm. for Freedom of the Press, 489 U.S. 749, 763 (1989). The
25
     Ninth Circuit has thus held that “[a] privacy interest is cognizable” under both exemptions
26
27   if it is “nontrivial” and “more than de minimis.” Rojas v. FAA, 941 F.3d 392, 405 (9th Cir.
28
                                                  23
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1    2019) (internal citation and quotation marks omitted).
2
           By definition, the records Plaintiff seeks here concern individuals who are no longer
3
     living. That fact does affect the analysis—“the deceased by definition cannot personally
4
5    suffer the privacy-related injuries that may plague the living,”—but it is not dispositive,
6
     because “certain reputational interests and family-related privacy expectations survive
7
8    death.” Campbell v. DOJ, 164 F.3d 20, 33 (D.C. Cir. 1998). The Supreme Court has thus

9    held that “FOIA recognizes surviving family members’ right to personal privacy with
10
     respect to their close relative’s death-scene images,” and noted that its holding “ensures”
11
12   that “child molesters, rapists, murderers, and other violent criminals” could not use FOIA

13   to obtain “autopsies, photographs, and records of their deceased victims.” Favish, 541 U.S.
14
     at 170. Likewise, the D.C. Circuit has held that “[d]eceased defendants never convicted of
15
16   a crime retain a reputational interest in keeping information concerning their prosecutions

17   out of the public eye.” ACLU v. DOJ, 750 F.3d 927, 936 (D.C. Cir. 2014).
18
           The records at issue here contain precisely the kind of highly sensitive and
19
20   potentially embarrassing information about the subjects of the records that merits

21   protection even post-mortem. Along with the full name, date of birth, and date of death of
22
     the deceased inmate, the records Plaintiff seeks all include information on the deceased
23
24   inmate’s sex and race and ethnicity, as well as a description of the circumstances

25   surrounding the death. JAF 62-64. The data sets also includes information such as the
26
     inmate’s place of death (including in a segregation unit, an on- or off-site medical center,
27
28   and an on- or off-site mental health center); the cause of death (with specific variables for
                                                  24
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1    causes including AIDS-related illness, accidental alcohol or drug intoxication, suicide, and
2
     homicide); and details about the inmate’s medical and surgical care. Id. The privacy
3
     interest of the deceased and their relatives in keeping such highly intimate and sensitive
4
5    details out of the public eye is plainly more than de minimis, and thus must be balanced
6
     against the public interest in disclosure. Rojas, 941 F.3d at 405.
7
8          B.     The privacy interests at stake outweigh the public interest in disclosure

9          Because “privacy concerns addressed by” Exemptions 6 and 7(C) “are present,”
10
     Plaintiff bears the burden of showing “that the public interest sought to be advanced is a
11
12   significant one, an interest more specific than having the information for its own sake,”

13   and that “the information is likely to advance that interest.” Favish, 541 U.S. at 172. “[T]he
14
     only relevant public interest in the FOIA balancing analysis is the extent to which
15
16   disclosure of the information sought would shed light on an agency’s performance of its

17   statutory duties or otherwise let citizens know what their government is up to.” Bibles v.
18
     Or. Natural Desert Ass’n, 519 U.S. 355, 355-56 (1997). In that analysis, what matters is
19
20   not public interest in the general subject matter, but instead only the “marginal additional

21   usefulness” of the particular information withheld. Lahr, 569 F.3d at 978.
22
           For Plaintiff’s first and second requests, there is no cognizable public interest to
23
24   weigh, because “FOIA is concerned only with shedding light on misconduct of the federal

25   government, not state governments.” Rimmer v. Holder, 700 F.3d 246, 258 (6th Cir. 2012).
26
     Thus, “just as there is no FOIA-recognized public interest in discovering evidence in
27
28   federal government files of a private party’s violation of the law, see Reporters Comm.,
                                                  25
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1    489 U.S. at 774, there is no FOIA-recognized public interest in discovering wrongdoing
2
     by a state agency.” Landano v. U.S. Dep’t of Justice, 956 F.2d 422, 430 (3d Cir. 1992),
3
     vacated on other grounds, 508 U.S. 165 (1993); accord Union Leader Corp. v. DHS, 749
4
5    F.3d 45, 56 n.8 (1st Cir. 2014) (same, quoting Landano); Rimmer, 700 F.3d at 259 (same).
6
     The first and second requests seek only information from state and local, rather than
7
8    federal, facilities. Such records are not relevant to the specific public interest that FOIA is

9    concerned with, namely shedding light on the operations of the federal government.
10
           Moreover, even Plaintiff’s third request, which seeks information relating to federal
11
12   law enforcement, would at best minimally advance the public interest. BJS already

13   publishes comprehensive statistical reports derived from those data. See BJS, FDCP,
14
     Publications and Products.14 Aggregate statistical information about deaths in federal
15
16   custody is thus already publicly available. Releasing personally identifying information

17   and medical details about particular individual decedents would provide minimal, if not
18
     zero, marginal additional benefit, but would impose grave privacy costs.
19
20         C.     BJS appropriately redacted the records

21         An agency must disclose “any reasonably segregable” non-exempt portions of the
22
     requested records. 5 U.S.C. § 552(b). Whether information is “reasonably segregable,”
23
24   however, depends on the context. Thus, in a case involving a FOIA request for summaries

25   of honors and ethics hearings at a military service academy, the Supreme Court noted that
26
27
     14
         Available at https://bjs.ojp.gov/data-collection/federal-law-enforcement-agency-
28
     deaths-custody-reporting-program-fdcrp#2-0 (last accessed April 29, 2024).
                                              26
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1    “what constitutes identifying information regarding a subject cadet must be weighed not
2
     only from the viewpoint of the public, but also from the vantage of those who would have
3
     been familiar . . . with other aspects of his career at the Academy.” Dep’t of Air Force v.
4
5    Rose, 425 U.S. 352, 380 (1976). The Supreme Court thus instructed the District Court, on
6
     remand, that “if in its opinion deletion of personal references and other identifying
7
8    information is not sufficient to safeguard privacy, then the summaries should not be

9    disclosed.” Id. “[E]ven with names redacted, subjects of such summaries can often be
10
     identified through other, disclosed information.” Reporters Comm., 489 U.S. at 769.
11
12         Similarly, in a case involving Patent & Trademark Office disciplinary records, the

13   D.C. Circuit held that the agency appropriately withheld information regarding court cases
14
     involving the subjects of the investigations, as well as their business associates and clients.
15
16   See Carter v. U.S. Dep’t of Commerce, 830 F.2d 388, 390-91 (D.C. Cir. 1987). Because

17   court cases “are already in the public domain, release of certain portions of them, even
18
     with names redacted, could easily lead to the revelation of the documents in their entirety,
19
20   including the identities of the attorneys involved.” Id. at 391.

21         Likewise, in a case concerning data pertaining to certain Medicare claims submitted
22
     by physicians, the D.C. Circuit held that the records were properly withheld under
23
24   Exemption 6 because, combined with information “publicly available on the internet,” the

25   data requested could reveal private financial information. Consumers’ Checkbook Ctr. for
26
     Study of Servs. v. HHS, 554 F.3d 1046, 1049 (D.C. Cir. 2009). Specifically, the plaintiff
27
28   sought “data elements includ[ing] the diagnosis, the type and place of service and the
                                                   27
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1    Unique Physician Identifying Number (UPIN) of the physician who performed the
2
     services.” Id. “A physician’s name, office zip code, medical or surgical specialty and
3
     UPIN are publicly available on the internet,” as are “[t]he fees a physician receives from
4
5    Medicare for performing a specific service or procedure.” Id. Putting that information
6
     together with the data requested by the plaintiff, it would be possible “to calculate the total
7
8    payments Medicare made to any individually identified physician,” which would

9    compromise “a substantial privacy interest” in the physicians’ finances. Id.
10
           The “k-anonymity” method that BJS used to redact the records released to Plaintiff
11
12   fits squarely within the logic of Rose, Carter, and Consumers’ Checkbook. As in those

13   cases, BJS sought to protect personal privacy by redacting certain variables in the dataset
14
     that could be combined with other, publicly available information to identify an individual
15
16   (in BJS’s terminology, “quasi-identifiers”). Rather than wholesale redacting all quasi-

17   identifiers, however, as in Carter and Consumers’ Checkbook, the k-anonymity method
18
     allowed BJS to redact quasi-identifiers only to the extent necessary to protect personal
19
20   privacy. K-anonymity solves the problem of quasi-identifiers by making the smallest

21   number of redactions necessary to ensure that no individual record contains a unique (and
22
     thus identifiable to the particular inmate) combination of quasi-identifiers.
23
24         The resulting pattern of redactions may appear arbitrary if viewed in isolation—

25   OJP has, for example, redacted the “month of death” variable for some rows but not for
26
     all. But any such surface-level inconsistencies are merely an artefact of OJP’s good-faith
27
28   efforts to reasonably segregate information, by redacting quasi-identifiers only as
                                                   28
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1    necessary. A variable may be identifying in the context of one row but not another,
2
     depending on the relationships between all of the variables in the dataset as a whole.
3
           Requiring BJS to fully release the quasi-identifiers (or worse, the full datasets
4
5    including full names and dates of birth) would produce manifest harms to privacy concerns
6
     of the most sensitive and intimate nature. In these circumstances, a “court may find the
7
8    foreseeable-harm requirement” of 5 U.S.C. § 558(a)(8)(A)(i)(I) satisfied if “‘the very

9    context and purpose of’ the withheld material ‘make[s] the foreseeability of harm
10
     manifest.’” Amiri v. Nat’l Sci. Found., 664 F. Supp. 3d 1, 21 (D.D.C. 2021) (quoting Rep.
11
12   Comm. for Freedom of the Press v. FBI, 3 F.4th 350, 372 (D.C. Cir. 2021)). BJS properly

13   withheld identifying and quasi-identifying information under Exemptions 6 and 7(C), and
14
     the k-anonymity method ensured that the redactions were no greater than necessary.
15
16                                 PLAINTIFFS’ ARGUMENT

17         A. DOJ’s Search Appears Inadequate
18
           “[T]he agency must demonstrate beyond material doubt that its search was
19
20   reasonably calculated to uncover all relevant documents.” Charles, 730 F. Supp. At 205

21   (citations omitted). It is not clear whether DOJ unreasonably limited its searches to the
22
     specific forms in the Requests. Supra, 15, 19. Though the Requests cited specific forms,
23
24   it appears over a dozen forms were used under DCRA since 2000. JAF 95-96. For

25   example, Request 2 asks for information from federal agencies from DCR-1 and DCR-1A
26
     forms. However, federal agencies use forms CJ-13, CJ-13A, and CJ-13B. JAF 96. If
27
28   Plaintiffs misidentified forms related to the requests or omitted a specific form, the agency
                                                  29
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1    is obligated to search for whichever forms fulfill the substance of the Requests. Valencia-
2
     Lucena v. U.S. Coast Guard, 180 F.3d 321, 326-27 (D.C. Cir. 1999) (requiring “methods
3
     which can be reasonably expected to produce” the “records…requested/additional records
4
5    responsive to [his] request.”). To the extent that DOJ did not reasonably include searches
6
     for other forms containing responsive data, Plaintiffs contest the adequacy of the search.
7
8          B. Exemption 3 Does Not Apply

9          To justify this alleged confidentiality, DOJ has retroactively concocted an interplay
10
     between FOIA, DCRA, and the Crime Control Act. The truth is quite simple: DCRA
11
12   records were meant to be disclosed. DOJ argues the BJS confidentiality provision

13   mandates withholding the records. Supra, 15-21. It states:
14
           No officer or employee of the Federal Government, and no recipient of
15         assistance under the provisions of this chapter shall use or reveal any research
16         or statistical information furnished under this chapter by any person and
           identifiable to any specific private person for any purpose other than the
17         purpose for which it was obtained in accordance with this chapter.
18   34 U.S.C. § 10231(a).15 Exemption 3 only applies if the statute requires nondisclosure “in
19
     such a manner as to leave no discretion on the issue” or “establishes particular criteria for
20
21   withholding or refers to particular types of matters to be withheld.” § 552(b)(3). Assuming
22
     Sec. 10231(a) is such a statute, it does not apply here. These records were “furnished
23
     under” DCRA, not Chapter 101; do not identify “any specific private person;” and will be
24
25
           15
              The Crime Control Act was enacted as Pub. L. No. 90-351 and used “title,”
26
     referring to Title I, rather than “chapter.” In the U.S. Code, Title I is codified as Chapter
27   101 (34 U.S.C. §§ 10101 to 10755). DCRA 2000 was originally codified in Title 42 of the
     U.S. Code and is now codified in Chapter 121 at 34 U.S.C. § 12104. DCRA 2013 is
28
     codified in Chapter 601 in Sec. 60105.
                                                   30
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1    used for “the purpose for which [they were] obtained.” § 10231(a).
2
           DOJ offers a tortured reading of the statute. It argues the Death in Custody records
3
     were “furnished under” Chapter 101 of the Crime Control Act—rather than the DCRA
4
5    statutes—because: 1) BJS is allowed to voluntarily collect this type of information, supra,
6
     17-18; 2) local jurisdictions reporting to MCI (a DCRA program) were not obligated to
7
8    report by DCRA, id.; 3) some information was furnished under both Chapter 101 and

9    DCRA, because “furnished under” does not require “exclusivity,” id. 19; 4) states who
10
     were not receiving JAG grants did not furnish under DCRA, id. at 19-20; and 5) records
11
12   responsive to Requests 2 and 3 were gathered for BJS’s purposes. Id. at 20-21. DOJ’s

13   bizarre reading of the provision is untenable for several reasons.
14
                  1. The Records Were Furnished Under DCRA, Not Chapter 101
15
           “Furnish” means “to supply.” E.W. Bliss Co. v. U.S., 248 U.S. 37, 45 (1918); Decker
16
17   v. U.S., 140 F.2d 375, 377 (4th Cir. 1944) (furnish is “not a term of art”); supra, 17.
18   “Under,” though it has several definitions, means “subject or pursuant to,” “governed by,”
19
     or “by reason of the authority of.” Ardestani v. I.N.S., 502 U.S. 129, 135 (1991); Fla. Dep’t
20
21   of Revenue v. Piccadilly Cafeterias, Inc., 554 U.S. 33, 39 (2008). Thus, Sec. 10231 only
22
     applies to information supplied pursuant to, or by reason of the authority of, Chapter 101.
23
     DCRA is not in Chapter 101 and therefore not governed by this statute. Instead, under the
24
25   plain reading of “furnished under,”16 the Death in Custody records were supplied to BJS
26
     16
27     “If the statutory language is unambiguous and ‘the statutory scheme is coherent and
     consistent…the inquiry ceases.’” Kingdomware Techs., Inc. v. U.S., 579 U.S. 162, 171
28
     (2016).
                                              31
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1    subject to the requirements and responsibilities outlined in DCRA, which contains no
2
     confidentiality provision.
3
           Before DCRA, BJS collected only annual, aggregate data from states and federal
4
5    agencies. JAF 73. DCRA fundamentally changed the type and quality of the data collected
6
     regarding deaths in custody—the specificity of the data, the frequency of collection, and
7
8    compliance mechanisms. JAF 74. DCRA required “detailed, individual inmate death

9    records,” collected from the state prison systems, as well as over 3,000 jail jurisdictions
10
     and roughly 18,000 State and local law enforcement agencies. Id. In a 2000 submission to
11
12   the OMB, BJS called the DCRA data a “supplement” to the aggregate data it already

13   collected and stated that the new forms were also meant “[t]o comply with Pub. L. 106–
14
     297’s [DCRA 2000] new requirement for a quarterly collection of inmate death data from
15
16   local jails [and] State prisons.”. JAF 72. In 2003, when BJS began collecting arrest-related

17   deaths under DCRA, it        noted that BJS began collecting quarterly prison and jail
18
     information “in order to implement Pub. L. 106-297.” Id. As a result, OMB authorized the
19
20   use of several forms to collect this new data, including CJ-9 and CJ-10. Id. Between 2000

21   and 2006 and since 2015, this collection was de facto compulsory. Though the statute only
22
     applies to states receiving certain grants—upon reauthorization, JAG grants—that
23
24   condition encompasses all 50 states and six territories. Reporting is only voluntary to the

25   extent a state decides it can accept a reduction in grants from the federal government.
26
           The collections between 2007 and 2014 were also “furnished under” DCRA, as BJS
27
28   continued to use the forms authorized to implement DCRA. In other words, while
                                                 32
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1    participation was not mandatory, it was subject to DCRA’s guidelines and for DCRA’s
2
     purposes. In its 2009 form instructions, BJS indicated that collecting certain information
3
     “was required by the Death in Custody Reporting Act of 2000.” See JAF 78. Critically,
4
5    these directions specify only that names are subject to confidentiality and do not mention
6
     the BJS confidentiality provision.
7
8          Nevertheless, DOJ specifically seeks to exclude MCI data submitted by local

9    entities between 2000 and 2019, arguing it was not provided under DCRA. This argument
10
     ignores that DCRA requires states to report local, county, and municipal data, and those
11
12   entities are “subordinate governmental instrumentalities created by the State to assist in

13   the carrying out of state governmental functions.” Ysursa v. Pocatello Educ. Ass’n, 555
14
     U.S. 353, 362 (2009) (“Political subdivisions of States—counties, cities, or whatever—
15
16   never were and never have been considered as sovereign entities.”). DOJ has offered no

17   evidence that local subdivisions provided DCRA data independently of their state.
18
           In fact, DOJ has not even shown the data it seeks to withhold was submitted by local
19
20   subdivisions. For decades, California and Texas have independently required local law

21   enforcement to report deaths in custody to the state’s attorney general under state law. JAF
22
     as 79. The state authority then submitted to the DOJ. For these states—and any with
23
24   similar reporting models—local data cannot reasonably be considered voluntarily or

25   independently submitted. See JAF 75. Even if the Court accepts that some local entities
26
     submitted data voluntarily and separately from DCRA—which DOJ has not shown—it is
27
28   DOJ’s burden to also show to which states’ data this theory applies, and it has failed to do
                                                 33
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1    so.
2
           DOJ also argues that DCRA records were furnished under both Chapter 101 and
3
     DCRA, because “furnished under” does not require “exclusivity.” Even if this were true,
4
5    it precludes application of Exemption 3, which requires “no discretion on the issue” or
6
     “criteria for withholding.” § 552(b)(3). Under DOJ’s theory, DCRA and Sec. 10231 apply
7
8    simultaneously to the records. However, DCRA promotes transparency and anticipated

9    disclosure of the records; and Sec. 10231, according to the DOJ, requires near total
10
     secrecy. There is no way to reconcile these two purposes and no statutory requirement to
11
12   follow Sec. 10231 over DCRA.

13         Additionally, DOJ’s reading of Sec. 10231 does not identify any BJS documents
14
     not subject to withholding, because documents “furnished under” Chapter 101 would
15
16   encompass all documents “collected by” BJS. In Sec. 10134, Congress restricted uses of

17   data “collected by” BJS to research and statistical purposes. “Furnished under” should
18
     necessarily mean something different, or it would render part of the statute superfluous.
19
20   Corley v. U.S., 556 U.S. 303, 314 (2009) (‘[a] statute should be construed so that…no part

21   will be inoperative or superfluous”). DOJ’s reading is circular and would require that
22
     information provided “in accordance” or “in compliance” with Chapter 101, see supra,
23
24   17, be restricted in accordance with Chapter 101, as the rest of Sec. 10231 simply rehashes

25   the allowed purposes of BJS data under Sec. 10134.
26
           DOJ’s reliance on Seymour is misplaced. Supra, 20-21. There, plaintiff sought
27
28   information used by the Census Bureau, which the Bureau withheld under Exemption 3.
                                                 34
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1    Seymour v. Barabba, 559 F.2d 806, 807 (D.C. Cir. 1977). The court affirmed, despite the
2
     records being “acquired or supplied from other sources,” because they were “categorized
3
     and assembled for the Census Bureau purposes.” Id. at 808 (emphasis added). Here, DOJ
4
5    argues that the federal agencies gathered the data for BJS/BJA’s purposes. But BJS/BJA
6
     are simply repositories for data gathered by federal, state, and local authorities for the
7
8    purposes of DCRA. It was only by virtue of the DCRA statutes that this data was supplied

9    at all.
10
                     2. The Records Do Not Identify “Any Specific Private Person”
11
12             When “person” is used in a statute, “there is an implied presumption that a person

13   is alive.” Kirby v. AT&T Corp., 2022 WL 17184565, at *9 (S.D. Cal. Nov. 23, 2022). In
14
     Kirby, the court looked to the statute text to determine its application to living persons. Id.
15
16   (pointing to phrases, such as “health or welfare” and “major life activities,” that “deceased

17   persons cannot do.”). That presumption applies here as the rights Sec. 10231 protects—
18
     privacy and freedom from prosecution or government interference—do not survive death.
19
20   See § 10134 (data collected by BJS “precludes their use for law enforcement or any

21   purpose relating to a private person or public agency other than statistical or research
22
     purposes.”); Cordell v. Detective Publ’ns, Inc., 419 F.2d 989, 990–91 (6th Cir. 1969) (the
23
24   tort of public disclosure of private matters “lapses with the death of the person who

25   enjoyed it, and one cannot recover for this kind of invasion of the privacy of a relative, no
26
     matter how close the relationship.”); U.S. v. Dunne, 173 F. 254, 257 (9th Cir. 1909) (“at
27
28   common law actions on penal statutes do not survive” death); Keller v. Finks, 2014 WL
                                                   35
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1    1283211, at *1 (C.D. Ill. Mar. 31, 2014) (“after death, Decedent was no longer a person
2
     within our constitutional and statutory framework and…had no rights of which she may
3
     have been deprived.”); see also DOJ, Overview of the Privacy Act of 1974, at 23 (ed.
4
5    2020), https://www.justice.gov/Overview_2020/download (“Deceased individuals do not
6
     have any Privacy Act rights, nor do executors or next-of-kin.”)
7
8          By definition, Death in Custody Records identify the deceased and thus do not

9    identify “specific private persons.” Therefore, Sec. 10231 cannot apply.
10
                  3.     The Records Will Be Disclosed for The Purpose For Which They
11                       Were Obtained
12         Sec. 10231’s prohibition applies only when documents will be used “for any
13
     purpose other than the purpose for which [they were] obtained in accordance with this
14
15   chapter.” This independently prevents application of Sec. 10231 to Plaintiffs’ requests, as
16   the documents will be used for “statistical and research purposes.” See also § 10134
17
     (records only to be used for statistical or research purposes).
18
19         Under BJS policy, statistical purposes exclude “any administrative, regulatory, law
20   enforcement, adjudicatory, or other purpose that affects the rights, privileges, or benefits
21
     of a particular identifiable respondent.” Section 502(9)(A) of the E-Government Act of
22
23   2002; see also § 10134. Further, DCRA’s legislative history confirms that its broader
24
     purpose is oversight, transparency, and accountability. JAF 67 (DCRA 2000 “will provide
25
     openness in government and will bolster public confidence and trust in our judicial
26
27   system.”); id. at 68 (Congress “should have an opportunity to analyze the data and see
28
                                                  36
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1    what we can learn from it. And the American people deserve the same.”). Plaintiffs’
2
     intended uses accord with the purposes of BJS and DCRA. See Corey Decl. at ¶6; see
3
     generally Deitch Decl.
4
5                 4.     Federal Employees And Recipients Of Grants Have Disclosed
                         Data, Which Would Otherwise Be Prohibited Under Sec. 10231
6
7          Section 10231 applies to “officer[s] and employee[s] of the Federal Government”
8    and “recipient[s] of assistance under the provisions of this chapter”—all fifty states, six
9
     territories, and thousands of local law enforcement entities. JAF 84-85, Exs. J, K.
10
11   Applying DOJ’s logic, no federal agency, state, or unit of local government should
12   disclose the data Plaintiffs seek. However, this does not comport with practice as both
13
     federal and state agencies have disclosed this identical data either in reports or in response
14
15   to public records requests.
16         In 2023, DHS Office of Inspector General released a report regarding deaths in
17
     custody for ICE and CBP, citing the FDRCP. JAF 115. This report discloses details the
18
19   DOJ now insists are confidential. The section, “Review of Deaths of Detainees in ICE
20   Custody,” describes ten case studies, providing the full name, country of origin,
21
     correctional facility, state, reason for detention, (detailed) discussion of medical histories,
22
23   details about the day and reason of their deaths, and the date of their deaths. These are the
24
     exact details the DOJ is withholding under Sec. 10231 and through its overcomplicated
25
     redaction algorithm.
26
27         States have also disclosed this identical information. See JAF 79, 118-120. The
28
                                                   37
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1    Pennsylvania Commission on Crime and Delinquency produced, inter alia, CJ-9, DCR-1
2
     and DCR-1A forms, and detailed spreadsheets pursuant to a reporter’s public records
3
     request. Id.; Vaughn Decl. at ¶¶4-10. Generally, the documents redacted only the
4
5    decedent’s date of birth and social security number. Id. In addition, the Incarceration
6
     Transparency Project has made available CJ-9 forms used in its research of deaths in
7
8    custody in Louisiana. Available at, https://tinyurl.com/5n6ksp6v. The release of this

9    information demonstrates the lack of clarity and consistent application of Sec. 10231 to
10
     this type of record and belies the DOJ’s interpretation.
11
12         Consistent with these public disclosures, the requested records do not meet the

13   criteria for withholding under Section 10231 and should be produced in full.
14
           C. Exemptions 6 and 7 are Not Properly Invoked
15
16         Exemption 6 protects “personnel and medical files and similar files the disclosure

17   of which would constitute a clearly unwarranted invasion of personal privacy.” 5 U.S.C.
18
     § 552(b)(6). Exemption 7(C) protects “records or information compiled for law
19
20   enforcement purposes” that “could reasonably be expected to constitute an unwarranted

21   invasion of personal privacy.” § 552(b)(7)(C). In deciding whether a record properly has
22
     been withheld pursuant to either exemption, “[the court] must balance the privacy interest
23
24   protected by the exemptions against the public interest in government openness that would

25   be served by disclosure.” Id. For the independent reasons below, Exemptions 6 and 7(C)
26
     do not apply.
27
28                1. The records are not for “law enforcement purposes.”
                                                 38
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1          This threshold showing for Exemption 7 requires that records were collected either
2
     as investigatory records or because “they are akin to ‘guidelines, techniques, and
3
     procedures for law enforcement investigations and prosecutions outside of the context of
4
5    a specific investigation.’” Pinson v. DOJ, 236 F. Supp. 3d 338, 364–65 (D.D.C. 2017).
6
     Neither applies here.
7
8          First, the BJS authorizing statute precludes its data from “use for law enforcement.”

9    § 10134. BJS collected all DCRA data from 2000 to 2019 and continues to collect federal
10
     DCRA data. The transfer of state data to BJA in 2019 did not change the purpose of their
11
12   collection. Indeed, the DOJ stated data collection was only moved to implement grant

13   reductions—an administrative action it has yet to take. JAF 88, 93.
14
           Though courts defer to law enforcement agencies regarding the purpose of their
15
16   records, that deference is not “vacuous.” Pinson, 236 F. Supp. 3d at 364. Here, DOJ

17   established neither a “rational nexus” between any “individual or...incident as the object
18
     of its investigation” and “one of [DOJ’s] law enforcement duties,” nor a “connection
19
20   between an ‘individual or incident and a possible security risk or violation of federal law.’”

21   Pratt v. Webster, 673 F.2d 408, 420 (D.C. Cir. 1982).
22
           DOJ argues “prisons perform law enforcement functions” when they “impose
23
24   discipline for violation of the criminal laws and prison regulations by convicted prisoners”

25   through “investigat[ion] and maint[enance of] sources of intelligence,” Duffin v. Carlson,
26
27
28
                                                  39
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1    636 F.2d 709, 713 (D.C. Cir. 1980); supra, 22, but that does not apply here. 17 DCRA
2
     records are summary accounts of the fact of an inmate’s death, more akin to death
3
     certificates or autopsy reports. Cf. Mingo v. DOJ, 793 F. Supp. 2d 447, 453 (D.D.C. 2011)
4
5    (applying Exemption 7 to records “pertain[ing] to an altercation involving over 50
6
     inmates”); Holt v. DOJ, 734 F. Supp. 2d 28, 41 (D.D.C. 2010) (regarding “investigation
7
8    of an inmate-on-inmate assault”). To the extent a death triggered an investigation—

9    perhaps in the case of a homicide—those documents are not included in these records.
10
     DOJ’s comparison to the “administrative remedy index” in Pinson, which “collects
11
12   complaints by inmates about the conditions of their confinement,” is inapt. See supra, 22;

13   Pinson, 236 F. Supp. 3d at 365 (rejecting Exemption 7 to litigation settlement documents).
14
     If DOJ believes these records were created for law enforcement purposes, “it must say
15
16   much more about the particular incident and threat involved.” Id. at 366. It has failed to

17   do so and cannot justify its wholesale withholdings.
18
                 2. DOJ did not properly invoke Exemption 6.
19
20         DOJ has not and cannot show that disclosure “would constitute a clearly

21   unwarranted invasion of personal privacy.” § 552(b)(6).
22
                        a. The Deceased Have Diminished Privacy Interests
23
           DOJ must demonstrate “some nontrivial privacy interest in nondisclosure. DOD v.
24
25
     17
       DOJ argues that “law enforcement” includes state agencies, drawing on Shaw v. FBI.
26
     749 F.2d 58, 64 (D.C. Cir. 1984). Shaw noted that a federal investigation of a state crime
27   or a collaboration between federal and state agencies could establish law enforcement
     purposes, but did not conclude that state law enforcement action alone is sufficient. DOJ
28
     must still identify an investigation and federal involvement, id., and has not done so.
                                                  40
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1    Fed. Labor Relations Auth., 510 U.S. 487, 501 (1994). Privacy is implicated if disclosure
2
     “affects…the individual’s control of information concerning his or her person,”
3
     “constitutes a public intrusion long deemed impermissible under the common law;” or
4
5    results in “possible embarrassment, harassment, or the risk of mistreatment.” Cameranesi
6
     v. DOD, 856 F.3d 626, 638 (9th Cir. 2017) (citations omitted). However, “death clearly
7
8    matters, as the deceased by definition cannot personally suffer the privacy-related injuries

9    that may plague the living.” Campbell v. DOJ, 164 F.3d 20, 33 (D.C. Cir. 1998). Family
10
     members retain some privacy interests, but “[t]his does not mean that the family is in the
11
12   same position as the individual who is the subject of the disclosure.” Nat’l Archives &

13   Recs. Admin. v. Favish, 541 U.S. 157, 167 (2004).18 Here, DOJ has not articulated any
14
     nontrivial privacy interest in light of the death of the subjects and the varying information
15
16   that may be disclosed. Instead, DOJ applies one generic privacy interest to withhold

17   information about the thousands of decedents in the DCRA records.
18
           Further, DOJ has not specified what information warrants consideration of privacy
19
20   interests. Supra, 24. Citing no legal authority, DOJ notes sex, race, and ethnicity, which

21   are not private details, as well as the “circumstances surrounding the death”—presumably
22
     information such as cause of death—as “highly sensitive and potentially embarrassing.”
23
24   Id. Such details are precisely what the DCRA records are meant to capture for analysis.

25
     18
       Favish and NASA involved highly personal records, which are not sought here. Favish,
26
     541 U.S. at 170–71 (recognizing “surviving family members’ right to personal privacy
27   with respect to their close relative’s death-scene images.”); New York Times Co. v. NASA,
     920 F.2d 1002, 1004 (D.C. Cir. 1990) (plaintiff sought “a tape of the voices of the
28
     Challenger crew”).
                                                   41
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1    Whatever interests exist in the plain facts surrounding these biographical and factual
2
     details are de minimis. In U.S. v. Schlette, the court found that “disclosure of a defendant’s
3
     previous criminal record, early life and developmental history, school and employment
4
5    record, mental and physical condition, religion, habits, attitudes, associates and other
6
     pertinent factors” may “militate against disclosure.” 842 F.2d 1574, 1580-81 (9th Cir.
7
8    1988). “But when the defendant is dead…this ground for nondisclosure is foreclosed.

9    Privacy interests are personal to the defendant and do not survive his death.” Id. at 1581.
10
     Even in Favish, where the court withheld gruesome death scene photos, the
11
12   “circumstances surrounding the death” were public knowledge. See 541 U.S. at 167.

13         Even if some privacy interest existed in these records, they vary across the thousands
14
     of decedents and their families. And the court must deny DOJ’s motion as it makes no
15
16   distinction between these interests. In Pinson, the court found that the “BOP’s categorical

17   approach provided insufficient explanation of the disparate privacy rights involved.” See
18
     Pinson, 236 F. Supp. 3d at 363-64 (rejecting application of Exemption 6). The court noted
19
20   that the method was “insufficiently precise” because the “range of circumstances included

21   in the category must ‘characteristically support an inference that the statutory requirements
22
     for exemption are satisfied.’” Id. at 363. DOJ’s motion suffers from the same
23
24   shortcomings.

25         For example, courts have found privacy interests in criminal records, Landano v.
26
     DOJ, 956 F.2d 422, 426 (3d Cir. 1992) (recognizing privacy protections depending on
27
28   individual circumstances); ACLU v. DOJ, 750 F.3d 927, 931 (D.C. Cir. 2014) (criminal
                                                  42
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1    records of a convicted defendant “would compromise more than a de minimis privacy
2
     interest, [but] it would not compromise much more.” (citations omitted)). There is further
3
     differentiation depending on the outcome of the matter, Id. at 931-33, and even based on
4
5    charge. Pinson, 236 F. Supp. 3d at 364 (“‘the privacy interest of tort claimants will be
6
     different when they are claiming injury from a slip and fall as compared to a sexual
7
8    assault.’” (citations omitted)).

9          Here, the majority of decedents died in prison after conviction and thus have de
10
     minimis, if any, privacy interests in these records. And their families’ interests are reduced
11
12   further still. But DCRA also collects information for arrest-related deaths and deaths in

13   jails, where the status of the individual or their charges cannot reliably be assumed. A
14
     decedent who had been awaiting trial on murder charges has lesser interests than a person
15
16   who died during a traffic stop. ACLU, 750 F.3d at 931-33. Because the DOJ has offered,

17   at best, only a categorical privacy interest for the thousands of potentially responsive
18
     records, the court must deny summary judgment in its favor.
19
20                       b. Public interest outweighs private interests that may exist

21         Releasing the records serves the public interest by “shed[ding] light on [DOJ’s]
22
     performance of its statutory duties,” under DCRA, to collect and study the deaths in
23
     custody for federal, state, and local entities. Bibles v. Or. Natural Desert Ass’n, 519 U.S.
24
25   355, 355–56 (1997). Full compliance would allow Congress and the public to evaluate
26
     whether federal funding to state and local law enforcement is being properly allocated and
27
     what other tools are needed to reduce the harms to people in custody. Deitch Decl. ¶9.
28
                                                  43
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1    Multiple audits of DCRA data show significant noncompliance by the states and unclear
2
     or evolving “form and manner” of collection from the AG.19 JAF 97, 112-113. Since 2015,
3
     the AG used inconsistent methods for data collection; for example, implementing then
4
5    abandoning “open source review” to cross-check state data. JAF 99. The AG also has
6
     failed to impose any JAG grant reductions, the most persuasive tool at its disposal, despite
7
8    noncompliance. JAF 93.

9            Disclosure also “let[s] citizens know ‘what their government is up to’” more
10
     generally. Bibles, 519 U.S. at 355–56 (citations omitted). Congress delegated an oversight
11
12   role to the Executive branch in response to nationwide concerns about people dying in

13   custody, i.e., when the state “has virtually complete control.” Illinois v. Perkins, 496 U.S.
14
     292, 303 (1990) (concurring); Deitch Decl. ¶11. This oversight responsibility is intended
15
16   to result in accountability and transparency through evaluating the breadth of this problem,

17   providing insight and recommendations, and ultimately preventing deaths in custody. For
18
     example, if deaths are trending upward, analysis can spark federal investigation, guidance,
19
20   or policy to address it, and determine whether it was effective. The data can be tracked

21   against the past 24 years of social events, administration changes, political considerations,
22
     and funding to determine the effect and extent of—and motivation for—this oversight
23
24   duty.

25
26           19
               Wessler, 381 F. Supp. 3d 253, 260 (S.D.N.Y. 2019) (“significant” public interest
27   where “audits from DOJ’s Inspector General have already identified serious deficiencies
     with respect to the very topic Wessler is investigating—the monitoring and oversight of
28
     state, local, and private facilities by USMS).
                                                  44
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1          Indisputably, the public interest is furthered by understanding who is dying in
2
     custody, how, and why, as well as whether the federal government is pulling available
3
     levers in order to prevent these deaths, especially when there is intentional misconduct at
4
5    the state level. Wessler v. DOJ, 381 F. Supp. 3d at 260 (“The public has a right to know
6
     the circumstances under which people die while detained.”)(releasing medical records of
7
8    deceased U.S. Marshall detainees). These layers of oversight and power are the basis of

9    Federalism.
10
           Because DOJ has completely withheld these documents and has yet to conduct and
11
12   release its mandated report under DCRA, disclosure has more than a “marginal additional

13   usefulness” to exposing the government’s failure to comply with DCRA. Lahr, 569 F.3d
14
     at 978 (regarding witness and agent names in otherwise unredacted records); cf. Favish,
15
16   541 U.S. at 162 (“Any purported public interest in disclosure, moreover, ‘is lessened

17   because of the exhaustive investigation that has already occurred regarding Foster’s
18
     death.’”).
19
20         The public interests outweigh the de minimis privacy interests that may be present,

21   and DOJ has not and cannot demonstrate a “clearly unwarranted” invasion of personal
22
     privacy.20
23
24                 3. DOJ Has Not Identified a Foreseeable Harm

25         DOJ has an “independent and meaningful burden” to “articulate both the nature of
26
           20
27             ACLU, 750 F.3d at 930 (D.C. Cir. 2014) (“public interest in ‘what the government
     is up to’ outweighs the privacy interests of persons who have been convicted of crimes or
28
     have entered public guilty pleas”).
                                                  45
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1    the harm [from disclosure] and the link between the specified harm and specific
2
     information contained in the material withheld.” Reporters Comm. For Freedom of the
3
     Press v. FBI, 3 F.4th 350, 369 (D.C. Cir. 2021) (citations omitted). It “cannot rely on
4
5    “mere ‘speculative or abstract fears,’ or fear of embarrassment.” Id. By providing only
6
     “generalized assertions,” id., that the release of “quasi-identifiers” would “produce
7
8    manifest harms to privacy concerns of the most sensitive and intimate nature,” the DOJ

9    has not met this burden. Supra, 28-29; Dep’t of the Air Force v. Rose, 425 U.S. 352, 380
10
     n.19 (“Exemption 6 was directed at threats to privacy more palpable than mere
11
12   possibilities.”).

13          DOJ relies on Amiri v. Nat’l Sci. Found., 664 F. Supp. 3d 1, 21 (D.D.C. 2021). This
14
     case is inapposite. In Amiri, the court weighed a disgruntled researcher’s unmoored
15
16   theories of misconduct against the release of PII of students and individual government

17   employees involved in awarding grant proposals. In Favish, the decedent’s family was
18
     able to show that prior investigations had resulted in harassment and profiteering from the
19
20   public, resulting in “nightmares and heart-pounding insomnia.” 541 U.S. at 167. Here, to

21   support its speculation, the DOJ expects the Court to extrapolate “foreseeable harm” to
22
     decedents from the mere disclosure of “quasi-identifiers,” which include details such as
23
24   gender and facility name. See supra, 28-29; see Schlette, 842 F.3d at 1580 (noting “harm

25   from violation of privacy interests” from disclosure of presentencing reports was
26
     “speculative.”) (citing Berry v. DOJ, 733 F.2d 1343, 1352 n.14 (9th Cir. 1984) (when in
27
28   the public record, “no significant intrusion on the privacy of the individual criminal”).
                                                 46
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1    Consistently, identical DCRA submissions have been released by other government
2
     agencies, and no harms have been identified. See infra 37-38; Vaughn Decl. at ¶ 11, Ex. A.
3
           Because of decedents’ de minimis privacy rights, DOJ must do more than nod to
4
5    these “manifest harms.”
6
           D.     DOJ Has Failed to Reasonably Segregate Data
7
           Without legal authority, DOJ insists the DCRA records must be entirely “de-
8
9    identified,” citing the out-of-context identification of a governor in a 1990s research

10   dataset. Supra, 7-11. Such stringent redaction is not mandated (or warranted) here. The
11
     DCRA dataset was created to promote transparency and accountability. Even assuming
12
13   any redaction is warranted, there is no evidence that anything more than PII (i.e., full

14   names and birth dates, and social security numbers) is appropriate. JAF 118-121. Indeed,
15
     the AG has only indicated that disclosure “will exclude personally identifiable
16
17   information”—nothing more. Charlton Decl., Ex. D at 8. This directive acknowledges that

18   the remaining data is essential to the utility of the dataset. In contrast, DOJ’s algorithm
19
     strips the data to nothing, removing entire columns of information at the core of any
20
21   meaningful analysis—how inmates die, where, and why. JAF 47-60, 126.

22         DOJ’s redaction algorithm is also inappropriate for the same reasons it cannot
23
     articulate privacy interests: it treats the dataset as a singular, monolithic unit, rather than
24
25   unique incidents. Redacting more than PII requires individualized analysis of each

26   decedent’s privacy interests, which the DOJ has not done. See Rose, 425 U.S. 352, 381
27
     (1976) (remanding for in camera review, as “what constitutes identifying information
28
                                                   47
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1    regarding a subject cadet must be weighed not only from the viewpoint of the public, but
2
     also from the vantage of those who would have been familiar”).
3
                                      PLAINTIFFS’ CONCLUSION
4
5          For the foregoing reasons, the Court should grant summary judgment in favor of
6
     Plaintiffs and order the disclosure of the records subject to Plaintiffs’ request.
7
8                                DEFENDANT’S CONCLUSION

9          For the foregoing reasons, the Court should grant summary judgment in favor of
10
     Defendant on all of Plaintiff’s claims. Should the Court determine that Exemption 3 does
11
12   not apply to any portion of Plaintiff’s requests, it should nevertheless grant summary

13   judgment in favor of Defendant on Exemptions 6 and 7(C).
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15
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26                                           /s/ Cormac A. Early
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